USCA Case #24-5101       Document #2074991                     Filed: 09/16/2024        Page 1 of 74
               ORAL ARGUMENT NOT YET SCHEDULED

                 No. 24-5101 (c/w Nos. 24-5156 and 24-5159)

       In the United States Court of Appeals
        for the District of Columbia Circuit
               ______________________________________________________________________

                   CENTER FOR BIOLOGICAL DIVERSITY, et al.,
                                    Appellees/Cross-Appellants
                                                v.
         UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, et al.,
                                 Appellants/Cross-Appellees

 STATE OF FLORIDA AND FLORIDA DEPARTMENT OF ENVIRONMENTAL PROTECTION,
                                   Appellants/Cross-Appellees
               ______________________________________________________________________

      On Appeal from the U.S. District Court for the District of Columbia
           No. 1:21-CV-0119, District Judge Randolph D. Moss
               ______________________________________________________________________

    OPENING BRIEF OF APPELLANTS STATE OF FLORIDA AND
   FLORIDA DEPARTMENT OF ENVIRONMENTAL PROTECTION
               ______________________________________________________________________

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USCA Case #24-5101      Document #2074991           Filed: 09/16/2024   Page 2 of 74



           CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      A.     Parties and Amici

      Intervenor-Defendant-Appellants: State of Florida and Florida Department of

Environmental Protection.

      Federal Defendants: Michael S. Regan, in his official capacity as

Administrator for the U.S. Environmental Protection Agency (EPA); Bruno Pigott,

in his official capacity as Acting Assistant Administrator for the Office of Water of

the EPA; Jeffrey Prieto, in his official capacity as General Counsel for the EPA;

David Uhlmann, in his official capacity as Assistant Administrator for the Office of

Enforcement and Compliance Assurance for the EPA; Jeaneanne Gettle, in his

official capacity as Acting Administrator for Region 4 of the EPA; Michael Oetker,

in his official capacity as Regional Director for the U.S. Fish and Wildlife Service

(FWS); Martha Williams, in her official capacity as Director for the FWS;

Lieutenant General Scott Spellmon, in his official capacity as Chief of Engineers

and Commanding General of the U.S. Army Corps of Engineers; Colonel Brandon

Bowman, in his official capacity as District Commander of the Jacksonville District

for the Corps; U.S. Environmental Protection Agency; U.S. Army Corps of

Engineers; and U.S. Fish and Wildlife Service.




                                          i
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 3 of 74



      Plaintiff-Appellees: Center for Biological Diversity; Defenders of Wildlife;

the Sierra Club; the Conservancy of Southwest Florida; Florida Wildlife Federation;

Miami Waterkeeper; and St. Johns Riverkeeper.

      Amici Before this Court: Amici before this Court are the Florida Chamber of

Commerce; the Association of Florida Community Developers, Inc.; the Mosaic

Company; the Florida Home Builders Association; the Florida Transportation

Builders’ Association; the Leading Builders of America; the Associated Industries

of Florida; the Lennar Corporation; G.L. Homes of Florida Corp.; Greenpoint

Holdings; KB Home; Pulte Group; Taylor Morrison Home Corp; and Florida State

Hispanic Chamber of Commerce.

      Additional Parties Before the District Court: Tarpon Blue Silver King I, LLC,

doing business as Collier Enterprises, Ltd.

      Additional Amici Before the District Court: Cameratta Companies LLC and

CAM7-SUB, LLC.

      B.     Ruling Under Review

      The State of Florida and the Florida Department of Environmental Protection

seek review of the district court’s February 15, 2024 order, as amended on April 12,

2024, vacating federal approval of Florida’s permit program under Section 404 of

the Clean Water Act and the accompanying Programmatic Biological Opinion and

Incidental Take Statement. That vacatur order was made final and appealable on


                                         ii
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024   Page 4 of 74



April 12, 2024, when the district court entered a final judgment pursuant to Federal

Rule of Civil Procedure 54(b).

      C.    Related Cases

      Miccosukee Tribe of Indians of Florida v. U.S. EPA, et al., No. 1:22-CV-

22459 (S.D. Fla.).



                                               /s/ Aaron M. Streett
                                              Aaron M. Streett
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                                              Dated: September 16, 2024




                                        iii
USCA Case #24-5101                   Document #2074991                        Filed: 09/16/2024              Page 5 of 74



                                              TABLE OF CONTENTS

                                                                                                                       Page

Certificate as to Parties, Rulings, and Related Cases .................................................i

Table of Contents ......................................................................................................iv

Table of Authorities ................................................................................................ vii

Glossary.................................................................................................................. xiii

Jurisdictional Statement ............................................................................................. 1

Statement of Issues..................................................................................................... 1

Statutes and Regulations ............................................................................................ 2

Introduction ................................................................................................................ 2

Statement of the Case................................................................................................. 5

I.       Section 404 state-assumption and Section 7 consultation provide a
         cohesive framework for resolving this case. ................................................... 5

         A.        The Clean Water Act prescribes cooperative federalism via state
                   assumption of Section 404 permitting...................................................5

         B.        The Endangered Species Act provides a process for the Services
                   to evaluate impacts from federal “actions” in “biological
                   opinions” that also allow for “incidental take.” ....................................7

         C.        In Cooling Water, the Second Circuit approves programmatic
                   consultation for state-administered programs. ....................................10

II.      Fish & Wildlife issues a programmatic BiOp and incidental-take
         statement supporting EPA’s approval of Florida’s Section 404
         program. .........................................................................................................11

III.     The district court vacates EPA’s entire approval of the Section 404
         program. .........................................................................................................15



                                                              iv
USCA Case #24-5101                  Document #2074991                         Filed: 09/16/2024             Page 6 of 74



Summary of Argument ............................................................................................ 17

Standard of Review ..................................................................................................18

Argument..................................................................................................................19

I.       The Court should vacate the judgment and dismiss for lack
         of standing. ....................................................................................................19

         A.        Standing poses a high hurdle when it depends on how regulated
                   entities will act under federal oversight. .............................................19

         B.        Plaintiffs failed to demonstrate a cognizable procedural injury. ........21

II.      The district court erred by granting summary judgment on Plaintiffs’
         ESA claims attacking the BiOp and incidental-take statement. ....................26

         A.        Fish & Wildlife’s programmatic BiOp was lawful. ............................26

                   1.       The BiOp complies with the ESA’s text and regulations. ........26
                   2.       The district court could not counter Cooling Water’s
                            approval of a materially identical programmatic BiOp. ...........34
         B.        Fish & Wildlife’s programmatic incidental-take statement did
                   not violate the ESA..............................................................................38

                   1.       The incidental-take statement complies with the ESA’s
                            text and regulations. ..................................................................38
                   2.       The district court could not counter Cooling Water’s
                            approval of a similar programmatic incidental-take
                            statement. ..................................................................................43
         C.        The opinion below threatens cooperative federalism by placing
                   Section 404 assumption out of step with the ESA. .............................46

                   1.     The district court should have harmonized the ESA and
                          CWA schemes—not set them on a collision course. ................46
               2.         The district court’s other suggestions for ESA compliance
                          fall flat. ......................................................................................47
III.     The district court erred by second-guessing EPA’s findings on marine
         species. ...........................................................................................................53



                                                              v
USCA Case #24-5101                  Document #2074991                        Filed: 09/16/2024              Page 7 of 74



IV.      The district court erred by vacating the Florida Section 404 program in
         its entirety. .....................................................................................................55

Conclusion ............................................................................................................... 58

Certificate of Compliance ........................................................................................ 60

Certificate of Service ............................................................................................... 60




                                                             vi
USCA Case #24-5101                 Document #2074991                      Filed: 09/16/2024            Page 8 of 74



                                         TABLE OF AUTHORITIES

                                                                                                            Page(s)

Cases

A.L. Pharma, Inc. v. Shalala,
   62 F.3d 1484 (D.C. Cir. 1995) ............................................................................57

Allied-Signal, Inc. v. Nuclear Reg. Comm’n,
   988 F.2d 146 (D.C. Cir. 1993) ............................................................................55

Arkansas v. Oklahoma,
   503 U.S. 91 (1992) ................................................................................................ 2

Black Oak Energy, LLC v. FERC,
   725 F.3d 230 (D.C. Cir. 2013) ............................................................................56

Calcutt v. Fed. Deposit Ins. Corp.,
  598 U.S. 623 (2023)............................................................................................55

Carpenters Indus. Council v. Zinke,
  854 F.3d 1 (D.C. Cir. 2017) ................................................................................ 18

Ctr. for Biological Diversity v. Bureau of Land Mgmt.,
   698 F.3d 1101 (9th Cir. 2012) ......................................................................39, 44

Ctr. for Biological Diversity v. EPA,
   861 F.3d 174 (D.C. Cir. 2017) ............................................................................21

Ctr. for L. & Educ. v. Dep’t of Educ.,
   396 F.3d 1152 (D.C. Cir. 2005) ..........................................................................21

City of Clarksville v. FERC,
   888 F.3d 477 (D.C. Cir. 2018) ............................................................................26

City of Oberlin v. FERC,
   937 F.3d 599 (D.C. Cir. 2019) ............................................................................57





    Authorities upon which we chiefly rely are marked with asterisks.

                                                          vii
USCA Case #24-5101                  Document #2074991                        Filed: 09/16/2024             Page 9 of 74



Clapper v. Amnesty Int’l USA,
   568 U.S. 398 (2013)......................................................................................20, 23

Conner v. Burford,
  848 F.2d 1441 (9th Cir. 1988) ......................................................................37, 49

Conserve Sw. Utah v. Dep’t of Interior,
  No. 1:21-cv-01506-ABJ, 2023 WL 7922785 (D.D.C. Nov. 16,
  2023) ...................................................................................................................56

*Cooling Water Intake Structure Coalition v. EPA,
  905 F.3d 49 (2d Cir. 2018) ........................................ 4, 10, 11, 34, 35, 40, 43, 49

*Crow Creek Sioux Tribe v. Brownlee,
  331 F.3d 912 (D.C. Cir. 2003) ............................................................................22

Davis v. FEC,
  554 U.S. 724 (2008)............................................................................................25

Defs. of Wildlife v. Dep’t of Navy,
  733 F.3d 1106 (11th Cir. 2013) ........................................................27, 28, 34, 37

El Puente v. Army Corps of Eng’rs,
   100 F.4th 236 (D.C. Cir. 2024) ...........................................................................33

Epic Sys. Corp. v. Lewis,
   584 U.S. 497 (2018)............................................................................................46

*FDA v. All. for Hippocratic Med.,
  602 U.S. 367 (2024)......................................................................................20, 23

Fla. Audubon Soc’y v. Bentsen,
   94 F.3d 658 (D.C. Cir. 1996) (en banc) ..............................................................24

Food & Water Watch, Inc. v. Vilsack,
  808 F.3d 905 (D.C. Cir. 2015) ......................................................................20, 25

Forest Service Emps. for Envtl. Ethics v. U.S. Forest Service,
  726 F. Supp. 2d 1195 (D. Mont. 2010).........................................................37, 45

Jicarilla Apache Nation v. Dep’t of Interior,
   613 F.3d 1112 (D.C. Cir. 2010) ..........................................................................19



                                                            viii
USCA Case #24-5101               Document #2074991                      Filed: 09/16/2024           Page 10 of 74



Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins.
  Co.,
  463 U.S. 29 (1983) ..............................................................................................19

Nat’l Ass’n of Home Builders v. Defs. of Wildlife,
  551 U.S. 644 (2007).............................................................................................. 7

Nat’l Wildlife Fed’n v. Brownlee,
  402 F. Supp. 2d 1 (D.D.C. 2005) ........................................................................37

*N. Slope Borough v. Andrus,
  642 F.2d 589 (D.C. Cir. 1980) ..........................................................28, 33, 46, 47

Oglala Sioux Tribe v. Nuclear Reg. Comm’n,
  896 F.3d 520 (D.C. Cir. 2018) ............................................................................57

Or. Nat. Res. Council v. Allen,
   476 F.3d 1031 (9th Cir. 2007) ......................................................................39, 44

Pub. Citizen, Inc. v. NHTSA,
  489 F.3d 1279 (D.C. Cir. 2007) ..........................................................................24

Sackett v. EPA,
   598 U.S. 651 (2023)............................................................................................47

Shafer & Freeman Lakes Envtl. Conservation Corp. v. FERC,
   992 F.3d 1071 (D.C. Cir. 2021) ..........................................................................58

Shalala v. Guernsey Mem’l Hosp.,
   514 U.S. 87 (1995) ..............................................................................................34

Sierra Club v. FERC,
   827 F.3d 59 (D.C. Cir. 2016) ........................................................................19, 20

Standing Rock Sioux Tribe v. Army Corps of Eng’rs,
   985 F.3d 1032 (D.C. Cir. 2021) ....................................................................19, 55

Texas v. United States,
   798 F.3d 1108 (D.C. Cir. 2015) ..........................................................................55

Union of Concerned Scientists v. Dep’t of Energy,
  998 F.3d 926 (D.C. Cir. 2021) ............................................................................20



                                                         ix
USCA Case #24-5101                Document #2074991                      Filed: 09/16/2024            Page 11 of 74



U.S. Sugar Corp. v. EPA,
   844 F.3d 268 (D.C. Cir. 2016) ............................................................................56

*Waterkeeper All., Inc. v. Regan,
  41 F.4th 654 (D.C. Cir. 2022) .................................................................19, 20, 23

Weyerhaeuser Co. v. Fish & Wildlife Serv.,
  586 U.S. 9 (2018) ................................................................................................27

Wheaton Coll. v. Sebelius,
  703 F.3d 551 (D.C. Cir. 2012) ............................................................................20

Federal Statutes

16 U.S.C. § 1531(b)-(c) ............................................................................................. 7

16 U.S.C. § 1531(c)(2) ......................................................................................... 7, 46

16 U.S.C. § 1532(19) ................................................................................................. 7

16 U.S.C. § 1536(a)(2) .........................................................................7, 8, 27, 29, 39

16 U.S.C. § 1536(b)(3)(A) .....................................................................26, 28, 30, 36

16 U.S.C. § 1536(b)(4)...........................................................................................8, 9

16 U.S.C. § 1536(b)(4)(C) ....................................................................................... 52

16 U.S.C. § 1536(b)(4)(C)(i) ...................................................................................38

16 U.S.C. § 1536(b)(4)(C)(ii) ..................................................................................42

16 U.S.C. § 1538(a)(1)(B) ......................................................................................... 7

16 U.S.C. § 1539(a) .................................................................................................52

16 U.S.C. § 1539(a)(1)(B) ................................................................................... 7, 52

33 U.S.C. § 1251(b) ............................................................................................. 5, 46

33 U.S.C. § 1344(g)-(j) .............................................................................................. 5

33 U.S.C. § 1344(g)(1)............................................................................................... 6

33 U.S.C. § 1344(h)(1)............................................................................................... 5

                                                           x
USCA Case #24-5101                Document #2074991                       Filed: 09/16/2024            Page 12 of 74



33 U.S.C. § 1344(h)(1)(A)(i) ..................................................................................... 6

33 U.S.C. § 1344(h)(3)............................................................................................... 5

33 U.S.C. § 1344(h)(4)............................................................................................... 6

33 U.S.C. § 1344(i) .................................................................................................... 7

33 U.S.C. § 1344(j) ........................................................................................6, 22, 42

33 U.S.C. § 1344(n) .................................................................................................22

State Constitution and Statutes

Fla. Const. Art. II, § 7(a) ............................................................................................ 2

Fla. Stat. § 373.016 ..................................................................................................11

Fla. Stat. § 403.021(2) ..............................................................................................11

Federal Regulations

40 C.F.R. § 230.10(b)(3) ............................................................................................ 6

40 C.F.R. § 233, Subpart F ........................................................................................ 6

40 C.F.R. § 233.1(b) ..........................................................................................50, 51

40 C.F.R. §§ 233.10-.14 ...........................................................................................12

40 C.F.R. § 233.15(g) ................................................................................................ 5

40 C.F.R. § 233.50(b) ................................................................................................ 6

40 C.F.R. § 233.50(f)-(j) ............................................................................................ 6

50 C.F.R. § 402.01(b) ................................................................................................ 7

50 C.F.R. § 402.02 ................................................................ 7, 10, 28, 29, 30, 31, 32

50 C.F.R. § 402.03 ..................................................................................................... 7

50 C.F.R. § 402.14(c)...............................................................................................34

50 C.F.R. § 402.14(c)(4) .......................................................................................... 10


                                                           xi
USCA Case #24-5101                Document #2074991                      Filed: 09/16/2024            Page 13 of 74



50 C.F.R. § 402.14(f) ...............................................................................................29

50 C.F.R. § 402.14(g) ..............................................................................................26

50 C.F.R. § 402.14(h)(2) ............................................................................................ 8

50 C.F.R. § 402.14(i)(1)(i) .................................................................................38, 44

50 C.F.R. § 402.14(i)(5)...........................................................................................40

50 C.F.R. § 402.14(i)(6)...........................................................................................45

50 C.F.R. § 402.14(i)(7)...........................................................................................31

50 C.F.R. § 402.16 ...................................................................................................41

50 C.F.R. § 402.16(a)...............................................................................................40

Other Authorities

80 Fed. Reg. 26,832 (May 11, 2015) .....................................................10, 31, 32, 36

85 Fed. Reg. 57,853 (Sept. 16, 2020) ......................................................................12

85 Fed. Reg. 83,553 (Dec. 22, 2020) ....................................................................... 15

H.R. Rep. No. 95-830 (1977), 1977 U.S.C.C.A.N. 4424 .......................................... 5

H.R. Rep. No. 97-567 (1982), 1982 U.S.C.C.A.N. 2807 ..................................39, 40




                                                          xii
USCA Case #24-5101       Document #2074991          Filed: 09/16/2024   Page 14 of 74



                                   GLOSSARY

      APA                      Administrative Procedure Act

      BiOp                     Biological Opinion

      CWA                      Clean Water Act

      Corps                    U.S. Army Corps of Engineers

      EPA                      United States Environmental Protection Agency

      ESA                      Endangered Species Act

      Federal Defendants       EPA, Fish & Wildlife, the Corps, and other named
                               federal officials

      Florida                  State of Florida and Florida Department of
                               Environmental Protection

      FDEP                     Florida Department of Environmental Protection

      Fish & Wildlife          United States Fish and Wildlife Service

      Marine Fisheries         National Marine Fisheries Service

      Plaintiffs               Center for Biological Diversity, Defenders of
                               Wildlife, the Sierra Club, the Conservancy of
                               Southwest Florida, Florida Wildlife Federation,
                               Miami Waterkeeper, and St. Johns Riverkeeper

      Section 7                Section 7 of the ESA, 16 U.S.C. § 1536

      Section 10               Section 10 of the ESA, 16 U.S.C. § 1539

      Section 404              Section 404 of the CWA, 33 U.S.C. § 1344

      Services                 Fish & Wildlife and Marine Fisheries




                                       xiii
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 15 of 74



                           JURISDICTIONAL STATEMENT

      Plaintiffs brought claims under the Administrative Procedure Act,

Endangered Species Act, and Clean Water Act, invoking jurisdiction under 28

U.S.C. §§ 1331 and 1361. The district court lacked jurisdiction because Plaintiffs

lack Article III standing. This Court has appellate jurisdiction under 28 U.S.C.

§ 1291 because the district court entered partial final judgment under Rule 54(b) as

to Counts 1-6 and 8-13 of Plaintiffs’ Amended Complaint, Dkt.184, JA.__, and

Florida timely appealed, Dkt.185, JA.__.

                              STATEMENT OF ISSUES

      1.     Whether Plaintiffs’ purported harms, which rely on a series of

hypothetical future failures by both Florida and federal agencies to properly

administer a joint federal-state program, are “so clearly impending” to establish

Article III standing.

      2.     Whether the district court erred in holding that Fish & Wildlife’s

programmatic BiOp and incidental-take statement and EPA’s reliance on those

documents were unlawful.

      3.     Whether the district court erred in rejecting the scientific finding by

EPA and Marine Fisheries that approval of Florida’s Section 404 program for non-

marine waters would have “no effect” on listed marine species.

      4.     Whether the district court erred by vacating Florida’s entire Section 404



                                           1
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 16 of 74



program and inflicting substantial disruption on Florida and its residents, where any

alleged deficiencies could be cured.

                          STATUTES AND REGULATIONS

      The Addendum to this brief contains the relevant statutes and regulations.

                                  INTRODUCTION

      As one of the most ecologically diverse States in the Union, Florida teems

with lakes, streams, and wetlands containing innumerable species of fish and

wildlife. To “conserve and protect [these] natural resources and scenic beauty,”

Florida’s Constitution requires the State to make “adequate provision … for the

conservation and protection of natural resources.” Fla. Const. Art. II, § 7(a).

From its world-famous Everglades to the Panhandle, Florida’s wetlands are a

treasured and protected resource. Accordingly, Florida has long required state-

issued permits for dredging (excavating from) and filling (depositing in) wetlands or

waters in the State.

      Enter the federal Clean Water Act (“CWA”), which creates a wetlands permit

program under Section 404 for dredging and filling the Nation’s surface waters. In

the spirit of cooperative federalism, the CWA “anticipates a partnership between the

States and the Federal Government, animated by a shared objective: ‘to restore and

maintain the chemical, physical, and biological integrity of the Nation’s waters.’”

Arkansas v. Oklahoma, 503 U.S. 91, 101 (1992) (quoting 33 U.S.C. § 1251(a)).



                                         2
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 17 of 74



Congress thus envisioned that States would run Section 404 programs with approval

and oversight from the federal government.

      To that end, Florida built its own Section 404 program.             It met all

environmental-protection requirements while also reducing inefficiencies associated

with separate (yet overlapping) federal and state wetlands-permit programs. EPA

approved the program in 2020, and Florida processed thousands of permit

applications over the ensuing three years under EPA oversight.

      The path to EPA’s approval required consultation with federal agencies over

the program’s effect on listed species and critical habitats under Section 7 of the

Endangered Species Act (“ESA”). This case is about that consultation.

      Because the Section 7 “action” here involved approval of a comprehensive

permitting program, the federal agencies engaged in a “programmatic” consultation,

as they had done in other similar contexts. The agencies surveyed Florida’s species

landscape and evaluated whether Florida’s new program—with close federal

coordination—would prevent effects that are likely to jeopardize species’ continued

existence or adversely modify critical habitat. A key feature of the program is a

binding “technical-assistance process” whereby federal and state agencies

collaborate during the permitting process to evaluate each project’s effects on listed

species. The Services’ programmatic consultation—which accounted for future

permitting protections—mirrored one the federal government has used and defended


                                          3
USCA Case #24-5101       Document #2074991           Filed: 09/16/2024    Page 18 of 74



over the last three administrations and that the Second Circuit approved in Cooling

Water Intake Structure Coalition v. EPA, 905 F.3d 49 (2018).

      The district court nevertheless concluded that EPA, Fish & Wildlife, Florida,

and the Second Circuit have misunderstood the ESA all along. It held that the federal

agencies needed to front-load the species-review process by divining where and

when dredging and filling might occur across the State, guess how those hypothetical

activities would affect over 130 listed species, and estimate those effects at a permit-

and species-specific level before EPA could approve the program within the

statutory 120-day approval deadline. How the agencies would complete such a

Herculean task is a mystery, but the result is clear: State-run wetlands permit

programs become extinct, along with the cooperative-federalism principles they

embody.

      In vacating Florida’s program, the district court’s opinion veers from Article

III jurisprudence by finding Plaintiffs had standing to assert conjectural, attenuated

harms that presuppose a failure of federal oversight. It engrafts rigid, atextual

constraints on the Section 7 consultation process. And it second-guesses agencies

on scientific determinations deserving deference, bucking settled law.

      This Court should reverse the judgment vacating Florida’s program approval,

lest Congress’s promise of cooperative federalism in this context be rendered

illusory.


                                           4
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024   Page 19 of 74



                             STATEMENT OF THE CASE

I.    Section 404 state-assumption and Section 7 consultation provide a
      cohesive framework for resolving this case.

      A.     The Clean Water Act prescribes cooperative federalism via state
             assumption of Section 404 permitting.

      By default, the EPA and Army Corps of Engineers administer the CWA

Section 402 program for pollutant discharges and Section 404 program for dredging

and filling of wetlands, respectively. 33 U.S.C. §§ 1342(a)(2), 1344(a).1 But the

CWA declares that “[i]t is the policy of Congress that the States ... implement the[se]

permit programs.” Id. § 1251(b) (emphasis added). Hence, Congress amended the

CWA in 1977 to establish a process for States seeking EPA’s approval to administer

“State [404] program[s] ... established under State law” to “function[] in lieu of the

Federal program,” H.R. Rep. No. 95-830, at 104 (1977), 1977 U.S.C.C.A.N. 4424,

4479; 33 U.S.C. § 1344(g)-(j), as it had done earlier for the 402 program, 33 U.S.C.

§ 1342(b)-(d).

       EPA has just 120 days upon receiving a State’s complete assumption

application to “approve or disapprove” the State’s program, after evaluating certain

statutory criteria. 40 C.F.R. § 233.15(g); 33 U.S.C. § 1344(h)(1). If EPA does not

act within that period, the assumption request is “deemed approved.” 33 U.S.C.

§ 1344(h)(3).


1
 Unless otherwise indicated, statutory and regulatory citations in this brief are to
provisions in place when EPA approved Florida’s Section 404 program.

                                          5
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 20 of 74



      Upon EPA’s approval, the Corps must “transfer” pending permit

“applications for … activities” that fall under the new State program.             Id.

§ 1344(h)(4). Section 404 assumptions extend only to non-tidal waters (known as

“assumed waters”), while tidal waters and their adjacent wetlands (known as

“retained waters”) remain under the Corps’ permitting authority. Id. § 1344(g)(1).

      Even for assumed waters, however, federal oversight persists on a permit-by-

permit and program-level basis. Id. § 1344(h); 40 C.F.R. § 233, Subpart F. EPA

must review “permits proposed to be issued by such State” and solicit comments

from other federal agencies—including the Services, which administer the ESA—in

deciding whether to “comment, object or to require permit conditions” vis-à-vis each

application.   33 U.S.C. § 1344(j); 40 C.F.R. § 233.50(b).       EPA must “assure

compliance with” the “guidelines established under subsection (b)(1).” 33 U.S.C.

§ 1344(h)(1)(A)(i). These “404(b)(1) Guidelines” prohibit, among other things,

actions that “[j]eopardize[] the continued existence of [listed] species” or “result[]

in likelihood of the destruction or adverse modification of [designated critical]

habitat.” 40 C.F.R. § 230.10(b)(3).

      If EPA objects to a permit because it would violate these guidelines, the State

must deny the permit or adopt EPA’s changes; otherwise, authority to issue that

permit reverts to the Corps (colloquially referred to as “federalizing” a permit). 33

U.S.C. § 1344(j); 40 C.F.R. § 233.50(f)-(j).     EPA may also seek to withdraw


                                          6
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 21 of 74



approval of the entire State program if it determines the State “is not administering”

the program “in accordance with” the CWA. 33 U.S.C. § 1344(i).

      B.     The Endangered Species Act provides a process for the Services to
             evaluate impacts from federal “actions” in “biological opinions”
             that also allow for “incidental take.”

      The ESA, enacted in 1973, seeks to “conserve” listed species and their

habitats. 16 U.S.C. § 1531(b)-(c). Fish & Wildlife administers the ESA for all listed

species except for certain marine species within the purview of Marine Fisheries. 50

C.F.R. § 402.01(b). The ESA—like the CWA—requires “federal agencies [to]

cooperate with [s]tate and local agencies to resolve water resource issues in concert

with conservation of endangered species.”       16 U.S.C. § 1531(c)(2) (emphases

added).

      ESA Section 9 generally prohibits the “take” of protected species—that is,

actions that “harass,” “harm,” or similarly affect such species. Id. §§ 1532(19),

1538(a)(1)(B). But a take that is “incidental” to—i.e., “not the purpose of,” 50

C.F.R. § 402.02—lawful activity can become exempt under the processes laid out in

Sections 7 or 10. 16 U.S.C. §§ 1536(a)(2), 1539(a)(1)(B).

      Section 7 applies to federal “agency actions,” so long as the “actions [are ones]

in which there is discretionary Federal involvement or control.”           16 U.S.C.

§ 1536(a)(2) (first quote); 50 C.F.R. § 402.03 (second quote); see Nat’l Ass’n of

Home Builders v. Defs. of Wildlife, 551 U.S. 644, 671-73 (2007). Once triggered,



                                          7
USCA Case #24-5101       Document #2074991             Filed: 09/16/2024   Page 22 of 74



Section 7(a)(2) requires the “action agency” to “consult[]” with the relevant Services

to “insure that any action authorized, funded, or carried out by such agency ... is not

likely to jeopardize” listed species or critical habitat. 16 U.S.C. § 1536(a)(2).

Congress established that consultation process in a 1982 ESA amendment, Pub. L.

97-304, and the Services added details through regulations found at 50 C.F.R. Part

402.    Federal Defendants’ opening brief describes the ESA procedures for

consultation, which requires preparation of a Biological Opinion (or “BiOp”) for

actions likely to adversely affect listed species or critical habitat.

       Importantly, if the BiOp determines the proposed action is likely to

“jeopardize the continued existence of” listed species or adversely modify critical

habitat, the Services “shall include reasonable and prudent alternatives” to the

proposed action or indicate that “there are [none].” 50 C.F.R. § 402.14(h)(2). If the

BiOp finds no jeopardy but concludes that incidental take is reasonably certain, the

Services “shall provide” an incidental-take statement specifying, among other

things, the impact of incidental take on the species, measures necessary to minimize

that impact, and terms and conditions to implement such measures. 16 U.S.C.

§ 1536(b)(4). Section 7(o) broadly provides that “any taking that is in compliance

with the terms and conditions specified in” an incidental-take statement “shall not

be considered to be a prohibited taking of the species concerned.” Id. § 1536(o)(2).

This protection applies not just to “the Federal Agency” itself, but also to the non-


                                            8
USCA Case #24-5101         Document #2074991    Filed: 09/16/2024   Page 23 of 74



federal “applicant concerned, if any.” Id. § 1536(b)(4). The formal-consultation

process flows like this:




Dkt.112-1 at 259, JA.__.




                                         9
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 24 of 74



      C.     In Cooling Water, the Second Circuit approves programmatic
             consultation for state-administered programs.

      Because “agency action” triggering Section 7 includes “programs,” and

because the “effects” of programs can be far-ranging and shaped by future events,

the Services provide for the use of “programmatic consultation[s].” 50 C.F.R.

§§ 402.02, 402.14(c)(4); see infra 31-32 (discussing the three types of programmatic

consultations). Such consultations result in “broad-scale examination of a program’s

potential impacts” rather than seriatim consultations for each particular decision

carried out under the program. 80 Fed. Reg. 26,832, 26,836 (May 11, 2015).

      The Services use programmatic Section 7 consultations to approve programs

involving future state-issued permits. The most prominent example concerns EPA’s

2014 nationwide program setting standards for “cooling water intake structures”—

i.e., structures that draw water into power plants and manufacturing facilities,

threatening species within those waters. Cooling Water, 905 F.3d at 58-59. Forty-

seven States issue permits for such structures under delegated Section 402 authority.

Id. Given the program’s breadth and the fact that “individual [state] permits” would

not receive separate Section 7 consultations “because the issuance of such a permit

is not a federal action,” EPA and the Services engaged in a program-level

consultation. Id. at 73 n.15.

      The Services issued a “programmatic” no-jeopardy BiOp and incidental-take

statement covering program participants—i.e., the States and individual permit


                                         10
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024   Page 25 of 74



recipients. Id. at 62-63. “Critical to the Services’ no-jeopardy conclusion[s]” was a

binding “technical assistance process” built into EPA’s program, which “g[ave] the

Services a meaningful opportunity to review permit applications and to recommend

control measures and requirements for monitoring and reporting.” Id. at 71-73, 77.2

      EPA’s consultation drew challenges from environmental petitioners

(including certain Plaintiffs here). Id. at 63-64 & n.7. As discussed below, the

Second Circuit unanimously rejected those “challenges to the Services’

‘programmatic’ approach” and expressly approved the Services’ reliance on “the

protections of the technical assistance process.” Id. at 71-78; infra 34-36, 43-44.

II.   Fish & Wildlife issues a programmatic BiOp and incidental-take
      statement supporting EPA’s approval of Florida’s Section 404 program.

      The “public policy of [Florida is] to conserve the waters of the state,” Fla.

Stat. § 403.021(2), and “to provide for the management of water and related land

resources,” id. § 373.016(3)(a). Consistent with that policy, Florida sought to

become the third State (after New Jersey and Michigan) to assume its own Section

404 permit program. Beginning in 2018, Florida developed its Section 404 program

application by enacting statutes, promulgating regulations, obtaining legislative

appropriations, entering cooperative agreements with federal agencies, and hiring


2
  In 1996, Fish & Wildlife used a similar programmatic BiOp and incidental-take
statement approach for the Interior Department’s program governing state-issued
surface-mining permits. See Dkt.42-3 at 1-15, Nat’l Parks Conservation Ass’n v.
Kempthorne, No. 1:09-CV-00115-BJR (D.D.C. July 17, 2013).

                                         11
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024   Page 26 of 74



and training staff to administer the program. Dkt.112-3 at 21-22, JA.__ (timeline of

key events).

      Florida, EPA, and Fish & Wildlife cooperated throughout the application

process on species-related concerns:

       In December 2019, EPA began informal consultation with the Services on
        Florida’s Section 404 program. Dkt.56-1 at 669-71, JA.__.

       In July 2020, Florida submitted a Biological Assessment for EPA’s review.
        Id. at 66-364, JA.__.

       In August 2020, Florida filed a complete application with EPA, satisfying
        all elements of 40 C.F.R. §§ 233.10-.14. Dkt.52 at 82-143, JA.__;
        Dkt.56-1 at 684-85, JA.__. EPA solicited public comments on Florida’s
        application. Dkt.56-1 at 437-549, JA.__; 85 Fed. Reg. 57,853, 57,853
        (Sept. 16, 2020).

       In September 2020, EPA submitted its Biological Evaluation to Fish &
        Wildlife and initiated formal consultation. Dkt.112-3 at 2-298, JA.__

       In November 2020, Fish & Wildlife issued a final Programmatic BiOp that
        independently analyzed and “formally adopt[ed]” the Biological
        Evaluation. Dkt.56-1 at 702-03, JA__.

       The BiOp included a detailed discussion of the listed species and critical

habitats in Florida, adopting the Biological Evaluation’s assessment of 235 specific

species and “the baseline for 404 permitting in Florida and its past and ongoing

effects on ESA-listed and considered species.” Dkt.56-1 at 742-50, JA.__; Dkt.112-

3 at 54-73, 124-204, JA.__. The BiOp also detailed the “effects of the action,”

including its “cumulative effects,” and adopted the Biological Evaluation’s



                                        12
USCA Case #24-5101      Document #2074991               Filed: 09/16/2024   Page 27 of 74



assessment of “major stressors associated with the proposed action” and “effects of

the action” for specific ESA-listed species. Dkt.56-1 at 750-61, JA.__; Dkt.112-3 at

73-88, 227-78, JA.__.

      At the same time, the BiOp recognized that approving Florida’s program

would lead to “a broad array of activities conducted over several geographic areas

and long periods of time,” creating “substantial uncertainty about the number,

location, timing, frequency, and intensity of regulated activities.” Dkt.56-1 at 739,

JA.__. That made “[a] detailed analysis of potential effects in the future ... not

possible, because ... the exact locations, amounts, and types of impacts are not yet

known” on a site- and species-specific basis. Id. at 753, JA.__.

      The agencies, therefore, structured the consultation as a “programmatic

consultation” modeled after Cooling Water. That allowed Fish & Wildlife to assess

“whether and to what degree [Florida]’s program, regulations, processes and

procedures insure that EPA’s approval and [Florida]’s subsequent assumption and

implementation of the 404 program is not likely to jeopardize the continued

existence of endangered or threatened species or result in the destruction or adverse

modification of critical habitat.” Id. at 703, JA.__.

      Specifically, Fish & Wildlife’s BiOp relied heavily on a technical-assistance

process—evidenced by agreements between Florida, Fish & Wildlife, and EPA—

requiring that:


                                          13
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024    Page 28 of 74



       Florida’s program “utilize[] the [Fish & Wildlife]-approved permitting
        guidance that is currently used by the [Corps], to ensure consistency with
        CWA and ESA requirements”;

       Fish & Wildlife receive all Florida 404 permit applications for a species-
        and site-specific review on a “project-by-project” basis; and

       Florida “incorporate as permit conditions all recommended impact
        avoidance and minimization measures ... provided by [Fish & Wildlife]”
        through the technical-assistance process, as all such federal
        recommendations would be “determinative.”

 Id. at 716, 764, JA.__. This technical-assistance process would “afford[] [Fish &

Wildlife] the opportunity to appropriately evaluate project effects on a project-

specific and species-specific basis” and impose appropriate “measures [that] will

ensure that each permit will minimize adverse effects and thereby avoid jeopardy to

ESA-listed species.” Id. at 766, JA.__. In light of that “sufficiently structured

process,” the BiOp determined that Florida’s program was not likely to jeopardize

listed species or adversely modify critical habitat. Id. at 764, JA.__. But the opinion

was careful to note that, if any of the “key assumptions” about how the technical-

assistance process would function “prove[d] incorrect,” it could “trigger re-initiation

of ESA section 7 consultation.” Id. at 751, JA.__.

      Because implementation of Florida’s permit program would be “reasonably

certain” to result in incidental take, the BiOp also included an incidental-take

statement. Id. at 765, JA.__. Again, however, the “large scale and broad scope of

the proposed action” meant that “the best scientific and commercial data available



                                          14
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 29 of 74



[we]re not sufficient to enable [Fish & Wildlife] to accurately estimate the specific

amount of incidental take” at the time of the BiOp. Id. at 766, JA.__. Instead, “the

amount or extent of incidental take w[ould] be quantified” by Fish & Wildlife

through the technical-assistance process on a “project-specific and site-specific

basis,” with the “levels of take” under the program tracked by Fish & Wildlife on an

ongoing basis. Id.

       In December 2020, EPA approved Florida’s program. Dkt.56-1 at 435-36,

JA.__; 85 Fed. Reg. 83,553 (Dec. 22, 2020). Over the next three years, Florida

processed thousands of permit applications, issued over 700 individual permits, and

denied over 300 applications, all under continuous, permit-by-permit federal

oversight. Doc. #2051487 at Ex. P ¶ 15. Florida also routinely revised permits and

accepted Fish & Wildlife’s proposed mitigation recommendations, consistent with

the technical-assistance process. Id. ¶¶ 48-58.

III.   The district court vacates EPA’s entire approval of the Section 404
       program.

       Plaintiffs sued Federal Defendants, challenging EPA’s approval of Florida’s

program and the Section 7 consultation that supported it. Dkt.1, JA.__. Florida

intervened to defend its program, Dkt.4, JA.__, and Plaintiffs eventually filed their

Amended Complaint, bringing claims under the APA, CWA, ESA, and Rivers and

Harbors Act, Dkt.77, JA.__. During the ensuing litigation, the district court issued

rulings resolving 12 of Plaintiffs’ 13 claims.

                                          15
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 30 of 74



      Most relevant here, the district court granted summary judgment for Plaintiffs

on their ESA claims. Dkt.182 at 7, JA.__. It rejected Florida’s challenge to

Plaintiffs’ standing, concluding that Plaintiffs had suffered a “procedural injury.”

Id. at 38-51, JA.__. On the merits, the district court concluded that the agencies

acted unlawfully because (1) Fish & Wildlife’s programmatic BiOp failed to

“engage in the detailed, species-specific analysis necessary” to satisfy Section 7,

(2) the incidental-take statement did not adequately quantify take or otherwise

satisfy Section 7, and (3) EPA failed to consult with Marine Fisheries. Id. at 61, 70,

JA.__. The district court expressly rejected the Second Circuit’s unanimous decision

in Cooling Water. Dkt.182 at 67, JA.__. And it vacated EPA’s entire approval of

Florida’s program, while inviting Florida to seek a limited stay of that vacatur. Id.

at 88-96, JA.__.

      The district court then amended its summary-judgment opinion, issuing the

same substantive relief on Plaintiffs’ ESA claims but correcting factual and legal

mistakes about Michigan’s and New Jersey’s Section 404 programs in relation to

Florida’s program. Dkt.182, JA.__; Dkt.183 at 9 n.2, JA.__.3

      Finally, the district court denied Florida’s motion for a limited stay of vacatur

but granted Florida’s motion for entry of a partial final judgment under Rule 54(b)



3
 Unless indicated otherwise, the “opinion” discussed in this brief will refer to this
amended summary-judgment opinion, issued on April 12, 2024.

                                         16
USCA Case #24-5101       Document #2074991              Filed: 09/16/2024   Page 31 of 74



on all but one of Plaintiffs’ claims. Dkt.183, JA.__. The district court dismissed as

“prudentially moot” Plaintiffs’ claims involving “EPA’s decision-making process

leading up to its decision to approve Florida’s Section 404 assumption application,”

but left pending Plaintiffs’ claim under the Rivers and Harbors Act challenging the

Corps’ retained-waters list. Id. at 1, 18, 21, JA.__.

       Florida timely appealed. Dkt.185, JA.__.

                             SUMMARY OF ARGUMENT

      Plaintiffs’ claims are non-justiciable because they have not established actual

or imminent injury from EPA’s approval of Florida’s Section 404 program. While

Florida has “primary” responsibility for administering Section 404 permits in

assumed waters, substantial federal oversight remains on a permit-by-permit and

programmatic basis. Plaintiffs are no worse off. Their purported “harms” require

pessimistic guesswork about Florida’s program and federal oversight.

      On the merits, the district court’s erroneous rejection of programmatic

consultation in this cooperative federal-state context infected its whole analysis.

Cooling Water correctly held that a programmatic consultation—identical to the one

here—is appropriate where a federal action authorizes state permitting under close

federal oversight. That result is consistent with Section 7’s flexible text and

longstanding regulation and practice. Nonetheless, the district court invalidated a

BiOp conditioned on a technical-assistance process that is more protective than the



                                          17
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 32 of 74



Corps’ default Section 404 oversight. It cast aside an incidental-take statement

properly adapted to program-wide approval. And it erected a rigid requirement of

upfront, species-specific analysis that precludes EPA from approving any Section

404 program in a species-rich state like Florida. The judgment below flouts the

ESA’s text, regulations, and Congress’s promise of cooperative federalism.

      The district court erred further by second-guessing EPA’s decision not to

formally consult with Marine Fisheries. Contrary to the district court’s view, the

administrative record shows that EPA did, in fact, consider indirect impacts to listed

marine species occurring beyond assumed waters. EPA reasonably concluded that

approval of Florida’s program would have “no effect” on that relatively small set of

marine species—a conclusion supported by Marine Fisheries. Formal consultation

for marine species was, therefore, not required.

      Finally, even if the federal agencies’ programmatic consultation were

deficient in any respect, remand—not the district court’s disruptive vacatur of an

entire three-year-old state program—would be the appropriate remedy.

                              STANDARD OF REVIEW

      The Court evaluates standing de novo. Carpenters Indus. Council v. Zinke,

854 F.3d 1, 5 (D.C. Cir. 2017).

      The Court reviews a summary judgment involving the validity of agency

action “de novo, applying the familiar APA standard, which requires [the Court] to



                                         18
USCA Case #24-5101       Document #2074991           Filed: 09/16/2024   Page 33 of 74



set aside agency action that is ‘arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.’” Jicarilla Apache Nation v. Dep’t of Interior,

613 F.3d 1112, 1118 (D.C. Cir. 2010) (quoting 5 U.S.C. § 706(2)(A)). “The scope

of review under the ‘arbitrary and capricious’ standard is narrow and a court is not

to substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

      The Court reviews the district court’s vacatur determination for abuse of

discretion. Standing Rock Sioux Tribe v. Army Corps of Eng’rs, 985 F.3d 1032,

1051 (D.C. Cir. 2021).

                                     ARGUMENT

I.    The Court should vacate the judgment and dismiss for lack of standing.

      For standing, Plaintiffs had to establish—with evidence—that, at the time of

the complaint, EPA’s approval of Florida’s 404 program caused Plaintiffs harm that

this Court can redress. They failed to clear that bar.

      A.     Standing poses a high hurdle when it depends on how regulated
             entities will act under federal oversight.

      Associational standing, as advanced here, requires that at least one of

Plaintiffs’ members (1) has suffered an “injury-in-fact” that is (2) “fairly traceable

to the challenged action” and (3) a favorable decision will “likely” redress that

injury. Sierra Club v. FERC, 827 F.3d 59, 65 (D.C. Cir. 2016) (citation omitted).

Standing is a “claim-specific inquiry,” Waterkeeper All., Inc. v. Regan, 41 F.4th 654,


                                          19
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 34 of 74



660 (D.C. Cir. 2022), based on the facts that existed “at the time of filing,” Wheaton

Coll. v. Sebelius, 703 F.3d 551, 552 (D.C. Cir. 2012).

      The “injury” must be “‘concrete and particularized and actual or imminent,

not conjectural or hypothetical.” Sierra Club, 827 F.3d at 65 (internal quotation

marks omitted). Where the injury alleged has not yet occurred, the injury must be

“certainly impending” to confer standing. Clapper v. Amnesty Int’l USA, 568 U.S.

398, 409 (2013). The bar is even higher where the injury alleged is an increased risk

of harm, for the plaintiff must show “both (i) a substantially increased risk of harm

and (ii) a substantial probability of harm with that increase taken into account.”

Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 914 (D.C. Cir. 2015).

      The causation element similarly asks whether “it [is] likely that the

government’s regulation or lack of regulation of someone else will cause a concrete

and particularized injury in fact to the unregulated plaintiff[.]” FDA v. All. for

Hippocratic Med., 602 U.S. 367, 385 n.2 (2024) (“AHM”).                 Causation is

“substantially more difficult to establish” when it “hinge[s] on the response of the

regulated (or regulable) third party to the government action or inaction.”

Waterkeeper All., 41 F.4th at 660 (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555,

562 (1992)). This Court “has been reluctant to find standing based on predictions of

how agencies will exercise discretion in future proceedings.” Union of Concerned

Scientists v. Dep’t of Energy, 998 F.3d 926, 930 (D.C. Cir. 2021).


                                         20
USCA Case #24-5101       Document #2074991            Filed: 09/16/2024     Page 35 of 74



      B.     Plaintiffs failed to demonstrate a cognizable procedural injury.

      For alleged “procedural” injuries, although the immediacy and redressability

requirements are somewhat relaxed, Ctr. for L. & Educ. v. Dep’t of Educ., 396 F.3d

1152, 1157 (D.C. Cir. 2005), the injury-in-fact requirement remains “a hard floor of

Article III jurisdiction that cannot be altered by statute,” Ctr. for Biological Diversity

v. EPA, 861 F.3d 174, 183 (D.C. Cir. 2017). The causation requirement remains

demanding, too: “Establishing causation in the context of a procedural injury

requires a showing of two causal links: ‘one connecting the omitted [procedural step]

to some substantive government decision that may have been wrongly decided

because of the lack of [that procedural requirement] and one connecting that

substantive decision to the plaintiff’s particularized injury.’” Id. at 184 (citation

omitted).

      The district court accepted Plaintiffs’ proposed procedural injuries,

concluding that they had an interest in “minimizing the loss of listed species in

[Florida]” and that EPA’s alleged failure to lawfully consult under Section 7 harmed

those interests. Dkt.182 at 39-42, JA.__.4 That conclusion ignores federal oversight

of Florida’s program, relies on a tenuous causal chain, and rests on an improper and

disconnected showing of harm.


4
  Despite relying on a standing theory based on purported “informational injur[ies]”
in one of its earlier opinions, Dkt.73 at 21, JA.__, the district court correctly declined
to rely on these injuries in entering summary judgment, Dkt.182 at 40 n.9, JA.__.

                                           21
USCA Case #24-5101        Document #2074991          Filed: 09/16/2024    Page 36 of 74



      1.     In Crow Creek Sioux Tribe v. Brownlee, 331 F.3d 912 (D.C. Cir. 2003),

this Court held that plaintiffs lacked standing when they alleged that a transfer of

regulatory authority from federal to state actors injured them, despite the federal

government maintaining enforcement and oversight authority. There, the Corps

transferred lands to South Dakota. Id. at 913. A tribe argued the transfer made it

less likely that federal agencies would effectively enforce federal cultural-protection

statutes on the transferred lands. Id. But the statute requiring the land transfer

explicitly provided that federal cultural-protection statutes would remain applicable.

Id. at 917. This Court held that any claimed injury was too “speculative and

hypothetical” to establish standing. Id. at 918. Where a statute provides that the

federal government “will have an ongoing and undiluted enforcement role,”

concerns about reduced enforcement were simply “unsupported conjecture” that do

not satisfy Article III. Id. at 917.

      Florida invoked Crow Creek below, Dkt.102 at 38, JA.__; Dkt.107 at 17-19,

JA.__, but the district court never addressed it. That was error because, just as in

Crow Creek, federal agencies maintain an “ongoing and undiluted enforcement role”

in Florida’s Section 404 program—not just at the program level, but also on a permit-

by-permit basis. 331 F.3d at 917; see 33 U.S.C. § 1344(j), (n). Such oversight runs

on several tracks, through:

       EPA’s obligation to oversee implementation of state programs and
        withdraw approval of non-compliant programs;

                                          22
USCA Case #24-5101       Document #2074991            Filed: 09/16/2024     Page 37 of 74



       EPA’s permit-specific obligation to ensure permits do not jeopardize listed
        species;

       the binding technical-assistance process that ensures permits meet federal
        standards and protect species; and

       Fish & Wildlife’s permit-by-permit review and recommendations on
        species impacts and take limits, which are “determinative” on Florida.

Supra 11-15. This extensive overlay of federal involvement on a program-wide and

permit-specific basis reveals Plaintiffs’ asserted injuries are merely unsupported

conjecture, which cannot establish an Article III injury. See AHM, 602 U.S. at 390

(“[T]he broad and comprehensive conscience protections guaranteed by federal law”

“break[] any chain of causation between FDA’s [actions] and any asserted

conscience injuries to the doctors.”).

      2.     Standing cannot rest on hypothetical, too-tenuous causal chains.

Clapper, 568 U.S. at 409. Article III’s “causation requirement precludes speculative

links—that is, where it is not sufficiently predictable how third parties would react

to government action or cause downstream injury to plaintiffs”—and “attenuated

links—that is, where the government action is so far removed from its distant (even

if predictable) ripple effects that the plaintiffs cannot establish Article III standing.”

AHM, 602 U.S. at 383. In Waterkeeper, which the district court also ignored,

plaintiffs challenged EPA’s approval of Oklahoma’s coal-ash permit program,

complaining that the program would allow permittees to violate federal standards.

41 F.4th at 659. This Court sua sponte dismissed for lack of standing, concluding


                                           23
USCA Case #24-5101        Document #2074991             Filed: 09/16/2024   Page 38 of 74



that the “causal chain” between the claim and the injury was too tenuous. Id. at 659-

60, 663 (cataloguing four necessary conditions between claim and injury).

       Plaintiffs here likewise must—but cannot—establish a “substantial

probability,” Pub. Citizen, Inc. v. NHTSA, 489 F.3d 1279, 1297 n.3 (D.C. Cir. 2007),

that a number of dominoes will fall to connect EPA’s approval of Florida’s program

to their purported injuries: (1) Florida proposes to issue a 404 permit that would

harm Plaintiffs, so Plaintiffs submit comments; (2) EPA cannot convince Florida to

resolve the issue; (3) EPA neither objects to nor federalizes the permit; (4) Florida

issues the permit without addressing the public’s or EPA’s concerns; (5) Plaintiffs

file and lose both administrative and judicial challenges in state tribunals; and (6) the

project proceeds and actually harms Plaintiffs’ cognizable interests. See Dkt.107 at

16-17, JA.__; Dkt.127-2 at 3, JA.__ (graphic depiction of this causal chain). Keep

in mind: Plaintiffs must do all that without even knowing where a given project will

take place, or when, or how. Cf. Fla. Audubon Soc’y v. Bentsen, 94 F.3d 658, 670

(D.C. Cir. 1996) (en banc) (“The greater number of uncertain links in a causal chain,

the less likely it is that the entire chain will hold true.”).

       3.     Attempting to address this attenuation, Plaintiffs identified two

permits—out of the thousands processed by Florida over three-plus years—in which

Florida purportedly failed to incorporate the federal agency’s objections.           See

Dkt.182 at 42-43, JA.__. Reliance on those examples violates another axiomatic


                                             24
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 39 of 74



Article III requirement:     Standing “focuse[s] on whether the party invoking

jurisdiction had the requisite stake in the outcome when the suit was filed.” Davis v.

FEC, 554 U.S. 724, 734 (2008) (emphasis added). The district court erred by

skirting this principle and accepting Plaintiffs’ view that “the technical assistance

process has proven inadequate.” Dkt.182 at 42-43, JA.__ (emphasis added).

      Timing aside, Plaintiffs’ anecdotal critiques of select permits are not

attributable to the purported procedural violations in this case—i.e., the manner in

which Fish & Wildlife’s Section 7 consultation was structured. After all, Fish &

Wildlife’s no-jeopardy finding (and EPA’s approval) was made contingent on the

technical-assistance process and Florida’s agreement with Fish & Wildlife that all

federal recommendations would be “determinative.” Supra 13-14. An allegation

that Florida deviated from that process in isolated instances after the lawsuit was

filed cannot substitute for proof that the processes governing Fish & Wildlife’s

consultation or the terms of Florida’s program approval “both (i) … substantially

increased [the] risk of harm and (ii) [created] a substantial probability of harm with

that increase taken into account.” Food & Water Watch, 808 F.3d at 914. Plaintiffs

fail to draw that connection, so their tenuous theory must fail.




                                          25
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024    Page 40 of 74



II.   The district court erred by granting summary judgment on Plaintiffs’
      ESA claims attacking the BiOp and incidental-take statement.

      A.     Fish & Wildlife’s programmatic BiOp was lawful.

      The district court’s effort to recast the flexible Section 7 process into a rigid,

one-way avenue finds no foothold in the statutory and regulatory text. Nor does that

approach square with Cooling Water or the ESA authority the district court invoked.

             1.     The BiOp complies with the ESA’s text and regulations.

      “In addressing a question of statutory interpretation, we begin with the text.”

City of Clarksville v. FERC, 888 F.3d 477, 482 (D.C. Cir. 2018). A BiOp must

“detail[] how the agency action affects the species or its critical habitat,” 16 U.S.C.

§ 1536(b)(3)(A), and take account of the “environmental baseline” for listed species,

along with the “effects” and “cumulative effects” on those species resulting from the

action, 50 C.F.R. § 402.14(g). The dispute below hinged on how exactly Fish &

Wildlife must go about conducting that analysis on a “species-specific” basis—a

term that appears 34 times in the district court’s opinion yet never in the ESA or its

implementing regulations.

      The district court’s bottom-line conclusion was that “even if the BiOp

adequately addressed the environmental baseline,[5] there is no dispute that it fails



5
  Fish & Wildlife did engage in a species-specific analysis of the environmental
baseline. Compare Dkt.56-1 at 742-61, JA.__; Dkt.112-3 at 54-73, 124-204, JA.__;
supra 12-13, with Dkt.182 at 31, 58, JA.__ (district court erroneously stating that
Fish & Wildlife “failed to undertake any species-specific analysis”).

                                          26
USCA Case #24-5101       Document #2074991         Filed: 09/16/2024    Page 41 of 74



to consider any species-specific effects or the cumulative effects of the EPA’s

action.” Dkt.182 at 60, JA.__. In the district court’s view, the BiOp’s program-level

evaluation of the technical-assistance process did not satisfy Section 7, no matter

how “arguably similar” it was to the process the district court envisioned. Dkt.182

at 62, JA.__.

      That was wrong on multiple levels. The district court misconstrued the plain

text and context of the ESA. It misunderstood the type of programmatic consultation

the agencies undertook here. And it inverted the presumption that agencies may

operate within flexible statutory text.

      a.        The ESA’s provisions and implementing regulations “cannot be

construed in a vacuum” and must instead be read in their “statutory context.”

Weyerhaeuser Co. v. Fish & Wildlife Serv., 586 U.S. 9, 20 (2018). Doing so debunks

the view that a BiOp must granularly delineate—at the outset—all species-specific

effects from a programmatic action.

      Start with Section 7(a)(2)’s basic command that consultation must “insure that

any action authorized, funded, or carried out by such agency ... is not likely to

jeopardize” listed species. 16 U.S.C. § 1536(a)(2). That language is purposefully

broad, as Congress did “not require that consultation under the act take place in any

particular manner” and instead gave leeway to “the agencies to determine how best

to structure consultation to fulfill Section 7(a)(2)’s mandate.” Defs. of Wildlife v.


                                          27
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 42 of 74



Dep’t of Navy, 733 F.3d 1106, 1121 (11th Cir. 2013) (emphasis added). Fish &

Wildlife applied its expertise to that question and reasonably determined that a one-

time, programmatic consultation and ongoing technical-assistance process is

appropriate for insuring no jeopardy from programmatic actions approving countless

future state activities that are not themselves subject to separate Section 7

consultations. Supra 13-14.

      A BiOp simply must “detail[] how the agency action affects the species or its

critical habitat.” 16 U.S.C. § 1536(b)(3)(A). But neither the ESA nor its regulations

dictate the level of granularity with which innumerable permutations of future

effects must be detailed—much less preclude Fish & Wildlife from analyzing the

effects of a program through the lens of a mandatory technical-assistance process

designed to minimize impacts on a project-specific basis. That is so for three textual

reasons.

      First, the breadth of the federal “action” necessarily drives the appropriate

level of detail for an effects analysis. See N. Slope Borough v. Andrus, 642 F.2d

589, 608 (D.C. Cir. 1980) (observing that consultation “would naturally differ

depending on the scope of ‘agency action’ to which ESA ‘consultation’ will refer”).

The Services defined an “action” broadly to encompass “all activities or programs

of any kind.” 50 C.F.R. § 402.02 (emphasis added). The relevant “action” here is

EPA’s approval of the entire Florida permit program. Nothing in the statute suggests


                                         28
USCA Case #24-5101       Document #2074991           Filed: 09/16/2024    Page 43 of 74



that, in analyzing the effects of that “action” on listed species, Fish & Wildlife was

required to undertake a granular analysis of the species effects of each state permit

that might be approved in the future. That would be an impossible task.

       Second, the level of specificity necessarily depends on “the best scientific and

commercial data available.” 16 U.S.C. § 1536(a)(2) (emphasis added); 50 C.F.R.

§ 402.14(f). For many consultations, adequate scientific data will exist to outline

species- and site-specific effects in the manner the district court posited (take, for

example, the Corps’ construction of a new dam). But as Fish & Wildlife reasonably

concluded here, the same granularity of information is simply not available for a

program approval like this one, as the nature and location of future permit actions

are inherently uncertain. Dkt.56-1 at 753, JA.__.

       Third, the level of detail required for a Section 7 analysis necessarily depends

on the “effects of the action,” which is broadly defined to include, among other

things, “consequences of other activities that are caused by the proposed action but

that are not part of the action.” 50 C.F.R. § 402.02 (emphasis added). This includes

“effects” that “may occur later in time.” Id. In this way, the ESA regulations

recognize that Section 7 consultations must be adaptable to a range of attenuated

effects.

       Accordingly, Fish & Wildlife can flexibly structure a BiOp so long as it details

“how the agency action affects the species or its critical habitat.” 16 U.S.C.


                                          29
USCA Case #24-5101       Document #2074991           Filed: 09/16/2024    Page 44 of 74



§ 1536(b)(3)(A). That is precisely what the BiOp did here when it exhaustively

identified all relevant listed species, assessed the baseline situation, acknowledged

the “stressors” from Section 404 permits on a species-specific basis, chronicled the

mechanics of the technical-assistance process, and concluded that “the proposed

action ... has built in a sufficiently structured process to insure that the State’s

administration of section 404 ... is not likely to cause an appreciable reduction in the

likelihood of both the survival and recovery of any listed species.” Dkt.56-1 at 752-

65, JA.__; Dkt.112-3 at 228-78, JA.__. Fish & Wildlife did not “avoid its obligation

to engage in meaningful Section 7 consultation by deferring detailed, species-

specific analysis for another day,” as the district court erroneously held. Dkt.182 at

69, JA.__. Rather, Fish & Wildlife conducted a meaningful Section 7 effects

analysis at the program level, consistent with the scientific information available and

based on safeguards built into the program itself.

      b.     In rejecting the Services’ programmatic approach, the district court did

not rely on any statutory text precluding it, but instead posited that the Services had

somehow misapprehended their own regulatory definitions of the different kinds of

programmatic consultations. Dkt.182 at 16-17, 69, JA.__. There are three such

categories of approaches to structuring programmatic consultations, depending on

the nature of the program involved:




                                          30
USCA Case #24-5101     Document #2074991           Filed: 09/16/2024   Page 45 of 74



      Type of
                                                           Incidental Take
   Programmatic           Nature of Action
                                                            Authorization
    Consultation
                                                   Services do “not ... provide an
                                                     incidental take statement at
                       “[A]pproves a framework
                                                         the program level and
                        for the development of
                                                    [instead] address take during
    “Framework        future action(s)” involving
                                                        subsequent steps when
   Programmatic          federal discretion that
                                                   specific actions are authorized
      Actions”       themselves trigger “further
                                                        under the program and
                        section 7 consultation.”
                                                       subsequent consultation
                          50 C.F.R. § 402.02.
                                                                 occurs.”
                                                        80 Fed. Reg. at 26,836.
                                                   An “incidental take statement
                         Approves both future
                                                            is required at the
                       federal actions triggering
                                                    programmatic level only for
                             future Section 7
      “Mixed                                       those program actions that are
                     consultations and “action(s)
   Programmatic                                      reasonably certain to cause
                       that will not be subject to
     Actions”                                         take and are not subject to
                            further section 7
                                                            further section 7
                              consultation.”
                                                              consultation.”
                          50 C.F.R. § 402.02.
                                                       50 C.F.R. § 402.14(i)(7).
                                                    “[I]ncidental take statements
                                                       will be formulated by the
                                                        Services to accompany
                            “[O]ther types of
                                                      biological opinions where
                       programmatic actions not
  “Other types of                                   incidental take is reasonably
                       falling within the [above]
  programmatic                                          certain to occur and the
                      definitions provided in the
     actions”                                         proposed Federal action is
                                  rule.”
                                                           compliant with the
                        80 Fed. Reg. at 26,835.
                                                        requirements of section
                                                                 7(a)(2).”
                                                        80 Fed. Reg. at 26,835.

The programmatic action here falls into the third bucket—“other types of

programmatic actions”—not the first two buckets.




                                       31
USCA Case #24-5101      Document #2074991             Filed: 09/16/2024   Page 46 of 74



      Nevertheless, the district court looked only to the definitions of “framework”

and “mixed programmatic actions.” Because those definitions refer to “further

section 7 consultation,” the district court jumped to the conclusion that every

programmatic action must be subject to further consultations. Id. That inferential

leap conflicts with the definition of “mixed programmatic actions,” which itself

confirms that certain federal actions can “approve[] action(s) that will not be subject

to further section 7 consultation.” 50 C.F.R. § 402.02 (emphasis added). Indeed,

the Services explicitly listed a “Federal program[] in which subsequent approval for

actions proceeding under the program are delegated to the States” as “[a]n example

of [an] action[]” with effects that do not require “any further Federal authorization

or section 7 consultation.” 80 Fed. Reg. at 26,838.

      More fundamentally, the district court mistakenly assumed that “framework

programmatic actions” and “mixed programmatic actions” are Fish & Wildlife’s

exclusive means of programmatic consultation.          Dkt.182 at 16-17, 69, JA.__.

Neither the ESA nor its regulations say that, and the Services expressly repudiated

such exclusivity in the very rulemaking that created the definitions at issue,

explaining that there will be “other types of programmatic actions not falling within

the definitions provided in the rule.” 80 Fed. Reg. at 26,835 (emphasis added). This

is one such action.




                                          32
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 47 of 74



      c.     Rather than analyze whether the BiOp transgressed the text of Section

7, the district court fixated on a different question—whether the ESA or its

regulations explicitly delineate the type of programmatic BiOp and technical-

assistance process employed here. Finding no express description, the district court

denigrated the technical-assistance process as “non-statutory” and thus legally

invalid. E.g., Dkt.182 at 7, 52, 57, JA. __. That was error.

      This Court held decades ago that a BiOp may permissibly rely on a checks-

and-balances process outside of Section 7. In Andrus, the safeguards came from

another statute, the Outer Continental Shelf Land Act (“OCSLA”). 642 F.2d at 609.

The Court held that “satisfaction of the ESA mandate that no endangered life be

jeopardized must be measured in view of the full contingent of OCSLA checks and

balances and all mitigating measures adopted in pursuance thereof,” including those

that “ma[de] ESA requirements more likely to be satisfied.” Id. (emphases added);

see also El Puente v. Army Corps of Eng’rs, 100 F.4th 236, 255 (D.C. Cir. 2024)

(holding that BiOp permissibly relied on a “turbidity-monitoring plan,” the

“contours” of which were defined by the Services as part of the consultation). The

BiOp’s reliance upon the technical-assistance process here was similarly proper.

      More broadly, the “Supreme Court has recognized on numerous occasions

that ‘the formulation of procedures was basically to be left within the discretion of

the agencies to which Congress has confided the responsibility for substantive


                                         33
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 48 of 74



judgments.’” Defs. of Wildlife, 733 F.3d at 1121-22 (quoting Vt. Yankee Nuclear

Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 524 (1978)). And there

is no rule that an agency must “promulgate regulations ... address[ing] every

conceivable question” when satisfying a broad statutory objective. See Shalala v.

Guernsey Mem’l Hosp., 514 U.S. 87, 96 (1995).            Hence, the district court

erroneously invalidated the BiOp by invoking the lack of a codified regulation

specifying this particular type of programmatic consultation.

             2.    The district court could not counter Cooling Water’s
                   approval of a materially identical programmatic BiOp.

      The district court’s decision conflicts with Cooling Water, in which the

Second Circuit upheld a programmatic BiOp that served as the model for the one

here. Cooling Water surveyed “the ESA and its implementing regulations” and

rejected the district court’s rigid species-specific mandate, concluding that

“[n]othing in the ESA requires that the Services assess every future ‘phase’ of an

agency action on a site-specific or species-specific basis.” 905 F.3d at 73. In doing

so, the Second Circuit clarified that state-administered permits issued by “State

Directors” implementing EPA’s rule—just like Florida’s actions under its Section

404 program—were not a “phase” of the federal action triggering additional Section

7 consultations, meaning that the program-level BiOp “discharged [the Services’]

duty to assess ‘the effects of the action as a whole.’” Id. at 73 & n.15 (quoting 50

C.F.R. § 402.14(c)).

                                         34
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024    Page 49 of 74



      Moreover, Cooling Water expressly approved reliance on a technical-

assistance process that would “defer consideration of thermal impacts to the site-

specific permitting process,” given the Services’ scientific “conclusion ... that a

categorical assessment of thermal impacts was infeasible” on the front end. Id. at

74. Whether the technical-assistance process was “the equivalent of section 7

consultation,” the Second Circuit explained, was irrelevant because “the Services

have no obligation to conduct section 7 consultation or its ‘equivalent’ on individual

[state] permits because the issuance of such a permit is not a federal action.” Id. at

73 n.15.

      The district court initially tried to obscure its departure from Cooling Water

by “distinguish[ing] [the case] on its facts,” noting that the Cooling Water action

was a “final rule”—as opposed to assumption approval—as though that formality

alone meant the technical-assistance process in Cooling Water imposed “legally

binding responsibilities for all parties.” Dkt.182 at 65, JA.__. In reality, the Second

Circuit deemed it dispositive that the Services (a) “conditioned their no-jeopardy

finding on compliance with certain procedures” nearly identical to those here, and

(b) “represented to th[e] Court ... that they have a ‘commitment’ to those

procedures,” just as Fish & Wildlife did here. Compare 905 F.3d at 72, with Dkt.56-

1 at 763-68, JA.__; Dkt.156 at 95-96, JA.__.




                                          35
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 50 of 74



        Without a colorable distinction, the district court ultimately renounced

Cooling Water, labeling it “at odds with the statute, regulations, and caselaw.”

Dkt.182 at 67, JA.__. Not so, as explained above. Supra 26-33. Nor does the other

caselaw cited by the district court—none of which deals with programmatic

consultation for federal approval of a state program—undermine the agency action

here.

        The district court first inferred from Defenders and Andrus that the

consultation here was improper because it “deferr[ed] detailed, species-specific

analysis for another day.” Dkt.182 at 69, JA.__. But as the district court conceded,

those cases “address[ed] a distinct question” because they involved “federal

agencies conducting federal actions that proceed in tiers or stages” and thus could

“engage in Section 7 consultation at each tier,” whereas the state-permit actions

under Florida’s program would not trigger further Section 7 consultations. Id. at 71,

JA.__. That makes a critical textual difference because the consultation requirement

is tied to the federal “agency action” at issue. 16 U.S.C. § 1536(b)(3)(A); see 80

Fed. Reg. at 26,838 (listing a “Federal program[] in which subsequent approval

actions proceeding under the program are delegated to the States” as “[a]n example

of [an] action[]” with effects that do not require “any further Federal authorization

or section 7 consultation”). Those cases thus cannot dictate the method for a




                                         36
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024        Page 51 of 74



programmatic consultation regarding state-program approval. Contra Dkt.182 at 80,

JA. __.

       The district court compounded this error by citing Conner v. Burford, 848

F.2d   1441,   1454    (9th   Cir.   1988),   which   dealt   with     an     “agenc[y]

compartmentaliz[ing] the analysis of actions and thereby avoid[ing] discussing the

entire scope of the action.” Defs. of Wildlife, 733 F.3d at 1121 (discussing Conner).

Fish & Wildlife, by contrast, analyzed the entire scope of EPA’s program approval,

considering the effects of that action based on the information available and the

ongoing, binding technical-assistance process. Supra 11-15.

       No less inapposite are National Wildlife Federation v. Brownlee, 402 F. Supp.

2d 1, 10 & n.15 (D.D.C. 2005), and Forest Service Employees for Environmental

Ethics v. U.S. Forest Service, 726 F. Supp. 2d 1195 (D. Mont. 2010). In Brownlee,

the Corps issued nationwide permits but “ha[d] not consulted”—period—“with

[Fish & Wildlife] on the four challenged” permits. 402 F. Supp. 2d at 10. And in

Forest Service, the challenged BiOp contained only a “non-binding ‘conservation

recommendation’” and was not accompanied by any incidental-take statement. 726

F. Supp. 2d at 1203. Both cases lack key components of the BiOp and its binding

technical-assistance process at issue here.




                                         37
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024    Page 52 of 74



      B.     Fish & Wildlife’s programmatic incidental-take statement did not
             violate the ESA.

      The district court’s criticisms of the incidental-take statement similarly stem

from the programmatic nature of Fish & Wildlife’s consultation, so they fail for

similar reasons.

             1.     The incidental-take statement complies with the ESA’s text
                    and regulations.

      The district court identified three supposed flaws in the incidental-take

statement. First, it held the incidental-take statement failed to set a specific-enough

“take limit.” Dkt.182 at 73, JA.__. Second, it held that the incidental-take statement

lacked a sufficient reinitiation trigger. Id. at 77-78, JA.__. And third, it held that

the incidental-take statement’s terms and conditions were insufficiently binding on

state permittees. Id. at 32, 44, JA.__. Each holding was erroneous.

      a. An incidental-take statement must identify “the impact of [the] incidental

taking on the species,” 16 U.S.C. § 1536(b)(4)(C)(i), which the regulations define to

require “specif[ying] the impact of incidental taking as the amount or extent of such

taking,” 50 C.F.R. § 402.14(i)(1)(i) (emphasis added). The incidental-take statement

here did that by relying on the technical-assistance process—and the site- and

species-specific take quantification it would entail—and concluding that the

program would “minimize incidental take and detrimental effects associated with




                                          38
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024    Page 53 of 74



activities regulated by the State 404 program” and “thereby avoid jeopardy to ESA-

listed species.” Dkt.56-1 at 766, JA.__ (emphasis added).

      Despite this description of the “extent” of expected take, the district court

balked at the incidental-take statement’s failure to include numerical limits up front

for particular species. But the ESA imposes no such requirement. Indeed, Congress

recognized from the outset that—while “the impact should be specified in terms of

a numerical limitation” “where possible”—that does not mean “in every instance”

that Fish & Wildlife should “interpret the word ‘impact’ to be a precise number.”

H.R. Rep. No. 97-567, at 27 (1982), 1982 U.S.C.C.A.N. 2807, 2827 (emphasis

added). Take one example: Courts have blessed the use of a surrogate in setting

non-numerical take limits. See Ctr. for Biological Diversity v. Bureau of Land

Mgmt., 698 F.3d 1101, 1126-27 (9th Cir. 2012) (allowing “habitat characteristics”

to be used “as a proxy for a numerical limit”); Or. Nat. Res. Council v. Allen, 476

F.3d 1031, 1038 (9th Cir. 2007) (allowing “various components of the ecological

landscape” to “be used as a surrogate” in place of a numerical limit).

      Just like the BiOp’s ability to assess species-specific effects, supra 29-30, Fish

& Wildlife’s ability to numerically quantify take is dictated by the breadth of the

“action” and “effects” at issue and constrained by the “best scientific and

commercial data available.” 16 U.S.C. § 1536(a)(2). While Fish & Wildlife may

be able to numerically quantify take in the mine run of cases, such that omitting a


                                          39
USCA Case #24-5101       Document #2074991           Filed: 09/16/2024    Page 54 of 74



“numerical cap ... normally violates the ESA,” Cooling Water, 905 F.3d at 77, EPA’s

program approval here involved an “instance” where it was not “possible for [Fish

& Wildlife] to specify a number,” H.R. Rep. No. 97-567, at 27; Cooling Water, 905

F.3d at 76-77 (relying on technical-assistance process—rather than a numerical

limit—to approve the incidental-take statement). Fish & Wildlife surveyed the

extraordinary temporal and geographic scope of Florida’s program before

concluding that “the best scientific and commercial data available [was] not

sufficient to enable [it] to accurately estimate the specific amount of incidental take”

at the time of the BiOp. Dkt.56-1 at 766, JA.__.

      b.     Regulations provide that “[i]f during the course of the action the amount

or extent of incidental taking ... is exceeded, the Federal agency must reinitiate

consultation immediately.” 50 C.F.R. § 402.14(i)(5); see also 50 C.F.R. § 402.16(a)

(four scenarios when reinitiation is “required”). The district court held that the

incidental-take statement here violated that requirement by failing to include an

adequate reinitiation trigger. Dkt.182 at 73, 78, JA.__.

      This critique rehashes the district court’s attack on the lack of a numerical take

limit—i.e., that Fish & Wildlife supposedly “omitted any limit on incidental take,

which functions to trigger reinitiation of consultation.” Id. at 44, JA.__ (emphasis

added). If an incidental-take statement need not numerically quantify a take limit




                                          40
USCA Case #24-5101       Document #2074991           Filed: 09/16/2024    Page 55 of 74



for Section 404 program approval, then it necessarily follows that reinitiation need

not be tethered to a numerical limit.

      More importantly, the suggestion that the incidental-take statement lacks any

take-related reinitiation trigger is inaccurate. Because the BiOp and incidental-take

statement assessed impacts based on “key assumptions” associated with the program

and its procedural safeguards, the BiOp included an explicit reinitiation trigger at

the program level: “If these assumptions prove incorrect or warrant changes during

implementation of the State 404 Program, it could … trigger re-initiation of ESA

section 7 consultation if it results in effects that were not considered herein pursuant

to 50 C.F.R. [§] 402.16.” Dkt.56-1 at 751, JA.__.

      Individualized species- and site-specific take limits would be imposed through

Florida’s operation of its Section 404 program in coordination with Fish & Wildlife,

which would monitor, assess, and redress take exceedances and account for the

listing of new, affected species, if any.      Id. at 765-69, JA.__.      Under those

circumstances, Fish & Wildlife reasonably concluded that federal reinitiation should

be measured by whether that program-level machinery functioned as expected,

rather than on the permit-by-permit level, where “the State would administer the

CWA 404 program.” Id. at 769, JA.__. Nothing in the statutory or regulatory text

demanded a different approach.




                                          41
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024   Page 56 of 74



      c.     Lastly, the district court dismissed the incidental-take statement’s terms

and conditions as insufficiently binding on State permittees. Dkt.182 at 44-45,

JA.__. That conclusion misunderstands how the incidental-take statement operates.

The terms and conditions bind Florida in administering its program and require it to

“incorporate as permit conditions all recommended impact avoidance and

minimization measures” imposed by Fish & Wildlife through the technical-

assistance process. Dkt.56-1 at 766-67, JA. __ (emphasis added). Those conditions

are therefore, quite literally, binding on the State permittees. And if Florida or the

permittee violates them, EPA and Fish & Wildlife, which are informed of each

permit, are fully authorized to take appropriate legal action. See id.; 33 U.S.C.

§ 1344(j) (EPA’s power to federalize noncompliant permit); Dkt.112-2 at 354-66,

JA.__ (memorandum of understanding detailing federal agencies’ responsibilities);

Dkt.102-1 at 12, JA.__ (detailing EPA’s continuous oversight over Florida’s

program).

      The ESA mandates only that a BiOp authorizing incidental take “specif[y]

those reasonable and prudent measures” that Fish & Wildlife “considers necessary

or appropriate to minimize [the] impact” of the taking.                   16 U.S.C.

§ 1536(b)(4)(C)(ii). The Services’ regulations add little specificity to that broad

language. The ESA’s text and regulations therefore supply no basis for the district

court’s attack on the BiOp’s terms and conditions.


                                         42
USCA Case #24-5101         Document #2074991          Filed: 09/16/2024   Page 57 of 74



             2.     The district court could not counter Cooling Water’s
                    approval of a similar programmatic incidental-take
                    statement.

      Once again, Cooling Water rejected these attacks. It held that “an [incidental-

take statement] is adequate if it ‘explain[s] why it was impracticable to express a

numerical measure of take.’” Cooling Water, 905 F.3d at 77 (second alteration in

original) (quoting Ctr. for Biological Diversity, 698 F.3d at 1126-27). As here, the

Cooling Water incidental-take statement satisfied that test because it “explain[ed]

that the ‘paucity of information’ ... prevented the Services from quantifying

anticipated take at this juncture, and it contemplates that the Services’ field offices

will quantify incidental take at individual [locations] as part of the technical

assistance process.” Id.

      Cooling Water also rejected a similar attack on the incidental-take statement’s

terms and conditions. Id. It held that “[t]he ESA does not mandate any particular

form or content for reasonable and prudent measures” and concluded the incidental-

take statement was “adequate” because it, like the incidental-take statement here,

“include[d] various administrative conditions, like a detailed annual reporting

requirement, and several substantive implementing conditions.” Id. Thus, the

Services’ “reliance on the binding technical assistance process was a ‘meaningful ...

attempt to minimize incidental takings associated with the project.’” Id. (alteration

in original) (quoting Allen, 476 F.3d at 1039 n.7).



                                          43
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024    Page 58 of 74



      Because the district court had no distinction for Cooling Water’s persuasive

holdings, supra 35-36, it erroneously cast the Second Circuit’s decision as an outlier.

Dkt.182 at 77, JA.__. But it identified zero cases invalidating a programmatic

incidental-take statement under similar circumstances.

      For instance, the district court pointed to the Ninth Circuit’s repeated approval

of non-numerical surrogates for take limits, as if that somehow precluded Fish &

Wildlife’s reliance on something other than a surrogate to quantify the extent of take.

Id. at 76-77, JA.__. But neither Center for Biological Diversity nor Allen invoked

Fish & Wildlife’s regulation authorizing use of a surrogate (indeed, Allen predated

the 2009 addition of that language)—much less cast that regulatory provision as

signaling surrogates were the exclusive type of non-numerical take limits, as the

district court did here. Allen, 476 F.3d at 1038; Center for Biological Diversity, 698

F.3d at 1127; Dkt.182 at 3, 73-74, JA.__; 50 C.F.R. § 402.14(i)(1)(i). Instead, both

decisions relied on Congress’s intent in adding Section 7 to the ESA in 1982,

explaining that a surrogate may be used if it is “able to perform the functions of a

numerical limitation.” Allen, 476 F.3d at 1038 (emphasis added). The technical-

assistance process here, which compels the State to establish numerical take limits

on a permit-by-permit basis under federal oversight, satisfies that functional test.

      The district court again misapprehended the stage-by-stage consultation in

Defenders, treating the Services’ deferral there of a formal incidental-take statement


                                          44
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024    Page 59 of 74



as though it meant Fish & Wildlife erred by issuing an upfront incidental-take

statement here. Dkt.182 at 77, JA.__. But, unlike in Defenders, there is no later

“stage” of federal action to which to defer Section 7 consultation and an incidental-

take statement here; the federal action is limited to the program approval, thus

necessitating a programmatic BiOp and incidental-take statement at the outset. See

50 C.F.R. § 402.14(i)(6).

      Finally, Forest Service did not “reject[] a similar scheme.” Contra Dkt.182 at

79, JA.__. There, the Services failed to “include[] an incidental take statement” and

instead relied on an “emergency consultation” process that would be performed by

the action agency. 726 F. Supp. 2d at 1229. Even then, the court found “some merit”

to the suggestion “that the unpredictable location and severity of wildfire makes it

impossible for the agencies to specify the impact of incidental taking on the species,”

and only invalidated the BiOp because of the lack of “effectiveness of emergency

consultation,” which vested “ultimate discretion” with the action agency to

determine whether and how to protect species. Id. at 1227-32. This case is the

opposite: (1) The BiOp included an incidental-take statement, and (2) the technical-

assistance process rendered Fish & Wildlife’s conclusions “determinative.”

Dkt.56-1 at 716, 725-26, JA.__.




                                          45
USCA Case #24-5101      Document #2074991            Filed: 09/16/2024    Page 60 of 74



       C.    The opinion below threatens cooperative federalism by placing
             Section 404 assumption out of step with the ESA.

       Despite the CWA’s and ESA’s express, reciprocal commitments to

cooperative federalism in the context of species protection and State assumption of

dredge-and-fill permitting, 16 U.S.C. § 1531(c)(2); 33 U.S.C. § 1251(b), the district

court’s opinion mentions neither of those provisions. Instead, the opinion below

thrusts the CWA and ESA into conflict and effectively nullifies a State’s prerogative

to administer a Section 404 program.

             1.     The district court should have harmonized the ESA and
                    CWA schemes—not set them on a collision course.

       “When confronted with two Acts of Congress allegedly touching on the same

topic, th[e] Court” must “strive to give effect to both.” Epic Sys. Corp. v. Lewis, 584

U.S. 497, 510 (2018) (internal quotation marks omitted). This Court followed that

rubric in Andrus when reconciling Section 7 with OCSLA. 642 F.2d at 607-10. It

held that Fish & Wildlife “complied in essence with [the] ESA” when issuing a BiOp

focused on the “lease stage” of a multi-stage OCSLA project, taking care to “meld[]”

the two statutes into a cohesive framework because they were not “irreconcilable.”

Id. at 607-08. Doing so was necessary to avoid turning the framework “into one

overwhelming statutory obstacle” and making ESA compliance impossible. Id. at

609.




                                          46
USCA Case #24-5101       Document #2074991          Filed: 09/16/2024    Page 61 of 74



      These reconciliation principles are even more important here, as Section 404

involves “regulation of land and water use,” which “lies at the core of traditional

state authority.” Sackett v. EPA, 598 U.S. 651, 679 (2023). For Section 7 to

“impinge on this authority” of States to assume primary Section 404 permitting

responsibility, Congress must have “enact[ed] exceedingly clear language” saying

so. Id. at 679-80.

      The district court blew by these conflict-avoidance principles. Indeed, it

construed Section 7 to require an upfront accounting of all species- and site-specific

effects and numerical take limits—something Fish & Wildlife determined was

scientifically impossible for Section 404 program approval and the unknowable

permitting decisions it triggers. Dkt.56-1 at 753, 766, JA.__. The opinion below

thus creates precisely the sort of “overwhelming statutory obstacle” this Court

avoided in Andrus. 642 F.2d at 609. Absent reversal, States with significant water

resources and a multitude of listed species (like Florida) will be effectively denied

the opportunity for Section 404 assumption that Congress promised them.

             2.      The district court’s other suggestions for ESA compliance
                     fall flat.

      The district court tried to walk back the CWA-ESA conflict it created with

token suggestions for how Federal Defendants could have supposedly complied with

the ESA. First, it suggested that Fish & Wildlife had additional information to

conduct a more searching consultation. And second, it suggested that EPA and Fish

                                         47
USCA Case #24-5101       Document #2074991           Filed: 09/16/2024    Page 62 of 74



& Wildlife could have structured the consultation or program approval differently.

Neither argument withstands scrutiny.

      a.     The district court pointed to “reams of data from previous Section 7

consultations” in Florida to which Fish & Wildlife purportedly “did not give ...

meaningful consideration” and could have used to determine “whether post-

[assumption] activities in particular areas were fundamentally incompatible with the

continued existence of the species.” Dkt.182 at 63-64, JA.__ (alterations in original)

(quoting Conner, 848 F.2d at 1454). Further, the district court found it “difficult to

believe that [Fish & Wildlife] lacked information sufficient to permit it to quantify

numerical take for any species given the wealth of previous permit and ESA

consultation data at their disposal.” Id. at 75, JA.__.

      Tellingly, however, the district court never says these additional, partial

analyses—a one-off numeric take limit here, or identification of an unpermittable

area there—would have satisfied its interpretation of Section 7. That is because the

district court held categorically that Section 7 requires a species-specific-effects and

numeric-take-limits analysis at the outset for all the consequences of the program—

no matter the completeness of available information about those future effects.

Dkt.182 at 64, 92, JA.__. Saying that the agencies could have done more towards

satisfying that test does not detract from its impossibility, when even the additional

efforts would have fallen short of the statute’s requirements in the court’s view.


                                          48
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 63 of 74



      In any event, Fish & Wildlife did rely upon past permitting data in assessing

the environmental baseline and the Section 404 program, Dkt.56-1 at 742-61, JA.__;

Dkt.112-3 at 54-73, 124-226, JA.__, before concluding that existing data did not

allow for a granular species-specific-effects analysis or numeric take limits at the

time of the BiOp, Dkt.56-1 at 753, 766, JA.__. While the district court found it

“difficult to believe” that Fish & Wildlife could not have done more, Dkt.182 at 75,

JA.__, the programmatic BiOp’s conclusion that “a categorical assessment of ...

impacts was infeasible reflects a scientific determination deserving deference,” as

Cooling Water held in rejecting a near-identical exercise in second-guessing a

programmatic consultation. 905 F.3d at 74 (internal quotation marks omitted &

emphasis added).

      Finally, the district court’s citation to Conner to suggest Fish & Wildlife could

have ruled out state permitting in “particular areas” is doubly misguided. Dkt.182

at 63-64. For one thing, the federal government in Conner had already issued leases,

so the agencies knew—unlike here—the areas where oil-and-gas activities would

occur. 848 F.2d at 1453-54. For another, Conner involved federal leasing decisions

for which the federal government could “exclu[de] [certain] areas” from what was

leased. Id. Section 404 assumption does not work that way, as “[p]artial State

programs are not approvable under section 404,” and “a State program must regulate

all discharges of dredged or fill material into waters regulated by the State under


                                         49
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 64 of 74



Section 404(g)-(1).” 40 C.F.R. § 233.1(b) (emphases added). Consistent with that

command, EPA approved Florida’s program for all assumable waters within Florida,

contingent on a technical-assistance process to protect against any concern that a

permit in a “particular area[]” could be “fundamentally incompatible with the

continued existence of [a certain] species.” Dkt.182 at 63-64, JA.__.

      b.     The district court alluded to three “other options” that were supposedly

“available” to comply with the ESA. Id. at 27, JA.__. Setting aside that the district

court erroneously described these “other options” as ones that “EPA acknowledged”

in “EPA[’s] response to comments,” id.,6 they simply do not square with the

governing legal framework and undisputed facts.

      New Jersey model. The district court identified “the New Jersey model”—

i.e., a State program that is not expected to impact listed species—as an example of

a Section 404 assumption that could “‘completely avoid[] impacts’ to protected

species.” Id. But New Jersey’s Section 404 assumption occurred without any formal

consultation (i.e., no BiOp whatsoever), depended on the unique sparsity of listed

species in New Jersey, and was accompanied by Fish & Wildlife’s warning that

“future consultations on state assumptions will be conducted as programmatic

formal consultations.” Dkt.112-5 at 159-69, JA.__ (emphasis added). No one


6
  The district court misattributed to EPA a summary prepared by Florida responding
to public comments. Dkt.112-3 at 368, JA.__. Florida merely noted that “[s]ome
public comments suggested” those three options. Id.

                                         50
USCA Case #24-5101       Document #2074991            Filed: 09/16/2024    Page 65 of 74



plausibly suggested below that a species- and habitat-rich state like Florida could

have proceeded down that “informal consultation” path. In fact, the district court

seemed to agree that “the New Jersey model” “would likely hinder—rather than

grease—the wheels of progress in a state like Florida given the amount of species

and wetlands.” Dkt.183 at 8, JA.__. This leaves Florida to wonder exactly what

Section 404 program might be available for it to assume.

      Federalizing “may affect” permits. Similarly illusory was the district court’s

suggestion that EPA could simply “federalize” all permit applications that “may

adversely impact listed species”—rather than just those in which the State rejects the

Services’ requirements—resulting in a State processing only Section 404 permit

applications without possible species effect. Dkt.182 at 27. When Florida requested

a limited stay of the district court’s vacatur asking for precisely that sort of modified

program as an exercise of the district court’s remedial discretion, Federal Defendants

strenuously objected that such an approach was “practically and legally unworkable”

and would constitute a prohibited “partial assumption.” Dkt.165 at 3, JA.__; 40

C.F.R. § 233.1(b). And the district court relied on those objections and denied

Florida’s requested limited stay, Dkt.183 at 4, JA.__, thus confirming that this “other

option” is illusory.

      Section 10 protection only. Finally, the district court observed that Florida

could “require state permittees to engage in Section 10 review.” Dkt.182 at 27,


                                           51
USCA Case #24-5101       Document #2074991              Filed: 09/16/2024   Page 66 of 74



JA.__. Yet Section 10 of the ESA merely creates a voluntary permit scheme that

grants private parties “permits for the taking of endangered species when no other

Federal action is involved.” 128 Cong. Reg. 26,188 (Sept. 30, 1982) (emphasis

added); 16 U.S.C. § 1539(a). The Services “may” issue such permits, known as

incidental-take permits, “if such taking is incidental to, and not the purpose of, the

carrying out of an otherwise lawful activity,” if the applicant satisfies various

conditions. 16 U.S.C. § 1539(a)(1)(B).

      The district court’s observation is a non sequitur. Fish & Wildlife did instruct

Florida to pursue Section 10 protection if it could not abide by the conditions in the

incidental-take statement, Dkt.56-1 at 766, JA.__, but that availability of the

voluntary Section 10 process did not obviate the statutory mandate that Fish &

Wildlife issue an incidental-take statement under the Section 7 process, supra 8.

And while the district court disagreed that the contents of the incidental-take

statement were adequate, no one disputes that a sufficient incidental-take statement

would extend protection to State permittees under the plain text of Section 7. 16

U.S.C. § 1536(b)(4)(C); Dkt.182 at 18, JA.__. Thus, the district court’s invocation

of Section 10 was no answer to the structural soundness of the Section 7 consultation

performed here and, in turn, no answer to the profound federalism concerns posed

by the district court’s invalidation of that process.




                                           52
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 67 of 74



                                       ***
       Because Fish & Wildlife’s consultation was consistent with Section 7, the

district court erred by granting summary judgment on Plaintiffs’ ESA claims

challenging that process. Dkt.182 at 81, JA.__. And because Plaintiffs’ claim that

EPA relied on an invalid BiOp and incidental-take statement rested on that same

mistaken premise, the district court erred in granting summary judgment to Plaintiffs

on that ESA claim as well. Id. at 85, JA.__.

III.   The district court erred by second-guessing EPA’s findings on marine
       species.

       While EPA formally consulted with Fish & Wildlife concerning protected

species in assumable (i.e., non-tidal) waters, EPA reasonably concluded that

Florida’s program would have “no effect” on the much shorter list of protected

marine species occurring beyond assumable waters. Dkt.112-2 at 351, JA.__;

Dkt.56-1 at 441, JA.__. Marine Fisheries also assumed “no effect” here. Dkt.112-

2 at 370-71, JA.__. However, the district court erroneously second-guessed that

scientific judgment, finding that the agencies “only” considered impacts to listed

species occurring “in the assumable waters” without also considering “indirect”

effects to marine species occurring “beyond the assumable waters.” Dkt.182 at 87,

JA.__.

       In reality, EPA considered direct impacts to listed species that may occur in

assumable waters and indirect impacts to listed marine species occurring beyond


                                         53
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 68 of 74



those waters.    Dkt.112-2 at 370-71, JA.__.       EPA and Marine Fisheries, in

cooperation with Florida, reviewed species “mapping” data, “possible spatial

overlap” of assumed waters with waters used by relevant listed marine species like

the shortnose sturgeon, and the Services’ “shared jurisdiction” over the Gulf

sturgeon. Id. Further, EPA’s Biological Evaluation—issued before EPA approved

Florida’s program—recognized that only “[r]elatively small areas of marine habitat”

are “within assumed waters,” Dkt.112-3 at 64, JA.__, but EPA also considered

potential effects of Florida’s program on listed marine species in downstream areas,

id. at 7, JA.__. The Biological Evaluation describes the status of relevant listed

marine species, id. at 152-54, JA.__, and addresses “stressors” and “effects” of the

action on marine species and how Florida’s program would avoid such impacts, id.

at 39, JA.__. Notably, the “Florida 404 Handbook” (which Florida adopted as a

regulation) explains that Marine Fisheries “will be provided an opportunity to review

all applications for projects with reasonable potential for affecting endangered or

threatened species,” Dkt.52 at 23-24, JA.__, and it requires Florida to accept “any

requirements” set by Marine Fisheries, id. at 6, JA.__. In EPA’s Response to

Comments, EPA references the various “upstream” and “downstream” impacts in

“all action areas.” Dkt.56-1 at 531-34, JA.__.

      Thus, even absent the agencies’ sensible perspective that approval of a State

program applicable only to assumable waters would have “no effect” on listed


                                         54
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 69 of 74



marine species occurring beyond those waters, EPA considered the issues that the

district court found to be missing, rendering EPA’s “no effect” finding far from

arbitrary. The district court’s summary judgment on this claim should be reversed.

IV.   The district court erred by vacating the Florida Section 404 program in
      its entirety.

      Because the district court “misapprehended the underlying substantive law”

for the reasons given above, Texas v. United States, 798 F.3d 1108, 1113 (D.C. Cir.

2015), it necessarily abused its discretion in vacating EPA’s approval of the Florida

program, Standing Rock Sioux Tribe, 985 F.3d at 1051.

      Alternatively, even if the agencies somehow erred in this case, it “is a well-

established maxim of administrative law that [i]f the record before the agency does

not support the agency action, [or] if the agency has not considered all relevant

factors, … the proper course, except in rare circumstances, is to remand to the agency

for additional investigation or explanation.” Calcutt v. Fed. Deposit Ins. Corp., 598

U.S. 623, 628-29 (2023) (citation omitted) (alterations in original). Assessing the

proper remedy depends on (1) “the seriousness of the order’s deficiencies (and thus

the extent of doubt whether the agency chose correctly),” and (2) the “disruptive

consequences of an interim change that may itself be changed.” Allied-Signal, Inc.

v. Nuclear Reg. Comm’n, 988 F.2d 146, 150-51 (D.C. Cir. 1993) (citation omitted).

The district court misapplied both factors in vacating a comprehensive State program

that had been in place for over three years with enormous State reliance interests.

                                         55
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 70 of 74



      First, courts have “frequently remanded without vacating when a rule’s

defects are curable.” U.S. Sugar Corp. v. EPA, 844 F.3d 268, 270 (D.C. Cir. 2016).

If, for example, the Court finds that the BiOp was deficient because Fish & Wildlife

should have more closely assessed prior consultation information or because the

incidental-take statement should have set cumulative take limits, supra 45, those

errors are classically redressable on remand without vacatur. See Black Oak Energy,

LLC v. FERC, 725 F.3d 230, 244 (D.C. Cir. 2013) (remand without vacatur

appropriate where it was “plausible” agency could “redress its failure of explanation

on remand while reaching the same result”); Conserve Sw. Utah v. Dep’t of Interior,

No. 1:21-cv-01506-ABJ, 2023 WL 7922785 (D.D.C. Nov. 16, 2023) (remanding

BiOp without vacating it).

      Indeed, with the benefit of over three years of program implementation and

thousands of pages of documented species-impacts assessments from the technical-

assistance process for hundreds of permits, a Herculean task pre-2020 may not be so

now. As for the Marine Fisheries-based claims, the agencies had already initiated

consultation “out of an abundance of caution,” Dkt.182 at 87-88, JA.__, with EPA

providing Marine Fisheries with a biological evaluation in 2023 finding no adverse

effects to marine species, so there was no need to vacate on those claims.

      Second, disastrous consequences flow from the district court’s vacatur.

Relying on Section 404’s promise of cooperative federalism, Florida poured


                                         56
USCA Case #24-5101       Document #2074991           Filed: 09/16/2024    Page 71 of 74



significant resources over the last six years into creating its program and processing

thousands of permit applications. The district court upended that scheme based on

a mistaken belief that federal law required more, which is a classic example of a

court “throwing the baby out with the bathwater.” See City of Oberlin v. FERC, 937

F.3d 599, 611 (D.C. Cir. 2019) (remanding without vacatur where permitted pipeline

was “currently operational” and thus vacatur “would be quite disruptive”); see

Dkt.166-1, JA.__ (summarizing the extraordinary disruptions resulting from the

district court’s vacatur); Doc. #2051487 at 1468-96 (same).

      And based on what harm? Of the thousands of permit applications Florida

processed, Plaintiffs have identified only a few they find problematic. Supra 25.

That hardly demonstrates that leaving Florida’s program in place during remand to

the agencies will result in harm. Indeed, neither Plaintiffs nor the district court ever

explained how thrusting Section 404 permitting back into the Corps’ hands would

be more protective of species, when the Corps’ permit program does not require the

level of federal-state species coordination imposed by the technical-assistance

process.   See Dkt.149-3 at 2-3, JA.__ (table comparing Florida’s and Corps’

programs); A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484, 1492 (D.C. Cir. 1995)

(remand without vacatur when “nothing in the record suggests that significant harm

would result from allowing the approval to remain in effect pending the agency’s

further explanation”); Oglala Sioux Tribe v. Nuclear Reg. Comm’n, 896 F.3d 520,


                                          57
USCA Case #24-5101      Document #2074991          Filed: 09/16/2024    Page 72 of 74



538 (D.C. Cir. 2018) (remanding without vacatur because of potential disruptive

consequences and lack of harm from leaving license “in effect for now”). To the

extent Plaintiffs have concerns about particular permit applications, Plaintiffs may

notify EPA and the other agencies, and if dissatisfied, pursue remedies in Florida

state administrative and judicial forums.

      Finally, the Corps’ vague, post-vacatur assurances that it is doing the best it

can to restart its Section 404 program do not move the needle. Doc. #2052135 at 3.

The Corps’ resources dedicated to processing permits in Florida do not compare to

those Florida has dedicated to its program. Doc. #2054085 at 9-10. All the while,

the staffing and infrastructure set up for Florida’s program—and the regulated

community—suffer the consequences of the district court’s ruling, as delays have

now pervaded Section 404 permitting in the State. See id.; Shafer & Freeman Lakes

Envtl. Conservation Corp. v. FERC, 992 F.3d 1071, 1096 (D.C. Cir. 2021)

(remanding without vacatur because of the “conflicting regulatory obligations” that

“vacatur would leave [the regulated party] betwixt and between”).

                                   CONCLUSION

      The Court should vacate the judgment below for lack of standing or reverse

the summary judgment vacating EPA’s approval and render summary judgment in

favor of Florida and Federal Defendants. Alternatively, if the Court disagrees with




                                            58
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024   Page 73 of 74



any element of the agency action, it should reverse the vacatur and instruct the

district court to remand for Federal Defendants to cure that error.


Dated: September 16, 2024                     Respectfully submitted,

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                                         59
USCA Case #24-5101      Document #2074991           Filed: 09/16/2024    Page 74 of 74



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      1.     This brief complies with the type-volume limitation of Fed. R. App. P.

32(a)(7)(B) because this brief contains 12,992 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

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                                              /s/ Aaron M. Streett
                                              Aaron M. Streett

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      I certify that on September 16, 2024, the foregoing was electronically filed

through this Court’s CM/ECF system, which will send a notice of filing to all

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                                              /s/ Aaron M. Streett
                                              Aaron M. Streett




                                         60
